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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

                                             )
UNITED STATES OF AMERICA                     )
                                             )
                                             )
               v.                            )
                                             )       No. 1:14-cr-10363-RGS
GLENN CHIN,                                  )
         Defendant                           )
                                            _)

        NOTICE OF WITHDRAWAL OF PREVIOUSLY FILED MOTION

       Now comes counsel for Glenn Chin, the defendant in the above entitled matter,
and hereby gives notice to this Honorable Court that he intends to withdraw a motion that
he has previously filed on behalf of Mr. Chin.
       Counsel filed a Motion to Amend on behalf of Mr. Chin on July 7, 2015. Counsel
hereby notifies this Court that he is withdrawing that motion.

                                             /s/ Stephen J. Weymouth

                                             /s/ Stephen J. Weymouth
                                             65a Atlantic Avenue
                                             Boston, MA 02110
                                             617-573-9598
                                             BBO #523680
                                             sweymouth@sweymouthlaw.com

                             CERTIFICATE OF SERVICE
                             U




       I hereby certify that the foregoing notice has been filed through the ECF system,
and will be sent electronically to the individuals named on the Notice of Electronic Filing
generated in connection herewith on July 13, 2015.



                                             /s/ Stephen J. Weymouth


                                             /s/ Stephen J. Weymouth
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